Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 4 of 123of 14
                                                                            Page ID #:13




   1
                                    •
         JOHN L. HOLCOMB, JR, i3AR ID #258175
                                                                           •
         jholcomb@khslaw.com
   2     SHAHROKH SHEIK, BAR ID #250650
         ssheik@khslaw.com                                                              FILED
   3     TAMMY WU, BAR ID #305890                                               Superior Court <>f CAWn . .
                                                                                  County of L " lkfma
         twu@khslaw.com                                                                         . ,?ll 6'1lgff(!£
   4     KRAMER HOLCOMB SHEIK LLP
         1925 Century Park East, Ste. 1180
   5     Los Angeles, California 90067
         Telephone: (310) 551-0600
   6     Facsimile: (310) 551-0601

   7     Attorney for Plaintiff,
         818 MEDIA PRODUCTIONS, LLC
   8
                              SUPERIOR COURT FOR THE STATE OF CALIFORNIA
   9
                            IN THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
 10

 11      818 MEDIA PRODUCTIONS, LLC, a Delaware                   Case No.:
         Limited Liability Company,
 12                                                               COMPLAINT FOR DAMAGES
                       Plaintiff,
 13
                                                                     1. Fraud and Intentional Deceit;
                       v.
 14                                                                  2. Negligent Misrepresentation;
         WELLS FARGO BANK, N.A., a national association;             3. Unfair Business Acts Uoder
 15      WELLS FARGO ADVISORS, LLC, a Delaware                          California Business & Professions
         limited liability company; BENJAMIN RAFAEL, an                 Code § 17200;
 16      individual; HERNAN BERMUDEZ, an individual;                 4. Breach of Contract; and
         WEATHERVANE PRODUCTIONS, INC., a Nevada                     5. Conversion.
 17      Corporation; JASON VAN EMAN, an individual;
         FOREST CAPITAL PARTNERS, INC., a Florida
 18      Corporation; BENJAMIN MCCONLEY, an
                                                                  [DEMAND FOR JURY TRIAL]
         individual; and DOES I through 50, inclusive,
 19
                       Defendants.
 20

 21

 22             COMES NOW Plaintiff, 818 MEDIA PRODUCTIONS, LLC, a Delaware Lim~q)Ja9jlity                                        n
                                                                                                                               1
                                                                                                         mx.:r>rrr             m;....
                                                                                                         ("')<;-1("')          :r.--1
 23      Company, for causes of action against Defendants, WELLS FARGO BANK, N.A., a ~-fil ~ a?>
                                                                                      -z~~
  --                                                                       nnnnm-1:r.--1     m:r.-
                                                                                             ~~
 2'4     association; WELLS FARGO ADVISORS, LLC, a Delaware limited liabili~n~Yo .S~~~ ~
  ~
  ,_,.
                                                                                      ~m"~
                                                                                            m       ••
                                                                                                            *
                                                                                                            ..t. ....    n
 2·5     RAFAEL, an individual; HERNAN BERMUDEZ, an individual; WEATHERVANE                                t;1 .: _g
  ~                                                                                                        •N~
  ~                                                                                                        o-~
 2;;~    PRODUCTIONS, INC., a Nevada Corporation; JASON VAN EMAN, an individual; FO~~
                                                                                                                        t-.J
 27      CAPITAL PARTNERS, INC., a Florida Corporation; BENJAMIN MCCONLEY, an indivt.·l
                                                                                    ro1i;il,   and              0
                                                                                        ".1S:'
                                                                                             ....
 28      DOES 1 through 50, inclusive, that complains and alleges as follows:                t
                                                                                     ........ 4't
                                                                                     0 •:) 0 0:..!J

                                                           1                         0000
                                                                                     C• 0
                                                                                       •::i 0

                                              COMPLAINT FOR DAMAGES



                                                                                REMOVAL EXHIBIT A 003
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 5 of 223of 14
                                                                            Page ID #:14




    1
                                          •        JURISDICTION AND VENUE
                                                                                     •
    2                     1.    This Court has jurisdiction over this action pursuant to the California Constitution,

    3        Article VI, Section 10, which grants the Superior Court "original jurisdiction in all causes except those

    4        given by statute to other courts." The statutes under which this action is brought do not specify any
    5        other basis for jurisdiction.

    6                2.        This Court has jurisdiction over all Defendants because, upon information and belief,

    7        each party is either a citizen of California, has sufficient minimum contacts in California, or otherwise

    8        intentionally avails itself of the California market so as to render this Court's jurisdiction over it

    9        consistent with traditional notions of fair play and substantial justice.
 10                  3.        Venue as to each Defendant is proper in this judicial district pursuant to California Code

 11          of Civil Procedure §§395(b) and 395.5, because the contract at issue was entered into in the County of
 12          Los Angeles. Plaintiff is informed and believes, and thereon alleges, that Defendants, and each of

 13          them, own or maintain offices in the County of Los Angeles, transact business there, have an agent or
 14          agents within the County of Los Angeles, or are otherwise found within the County of Los Angeles.
 15                                                        THE PARTIES

 16                  4.        At all times mentioned herein, Plaintiff, 818 MEDIA PRODUCTIONS, LLC
 17          (hereinafter "818M"), is a Delaware Limited Liability Company organized and existing under the laws
 18          of the state of Delaware, with its principal place of business in Los Angeles County, State of
 19          California.

 20                  5.        At all times mentioned herein, Defendant WELLS FARGO BANK, N.A. (hereinafter
 21          "WFB") is, upon information and belief, a national association, with numerous offices and a
 22          significant presence in Los Angeles County, State of California. At all times alleged herein WFB has

 2.3.        and does conduct business in and purposefully avails itself of the jurisdiction of the County of Los
  ........
 44          Angeles, State of California.

                     6.        At all times mentioned herein, Defendant WELLS FARGO ADVISORS, LLC
  1-.1~


 2<.6        (hereinafter "WFA") is, upon information and belief, a Delaware Limited Liability Company, with

 27          numerous offices and a significant presence in Los Angeles County, State of California. At all times
 28          alleged herein WF A has and does conduct b~siness in and purposefully avails itself of the jurisdiction

                                                                   2
                                                      COMPLAINT FOR DAMAGES


                                                                                         REMOVAL EXHIBIT A 004
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 6 of 323of 14
                                                                            Page ID #:15




    1
                                     •                                          •
          of the County of Los Angeles, State of California. WFB and WFA are sometimes hereinafter jointly

    2     referred to as "WELLS FARGO."

    3            7.      At all times mentioned herein, Defendant BENJAMIN RAFAEL (hereinafter

    4     "RAFAEL") is, upon information and belief, an individual residing in the State of Florida, and was, at

    5     all times alleged herein, upon information and_ belief, an agent, officer and manager with WELLS

    6     FARGO. At all times alleged herein RAFAEL has and does conduct business in and purposefully

    7     avails himself of the jurisdiction of the County of Los Angeles, State of California.

    8            8.      At all times mentioned herein, Defendant HERNAN BERMUDEZ (hereinafter

    9     "BERMUDEZ") is, upon information and belief, an individual residing in the State of Florida, and

 1O       was, at all times alleged herein, upon information and belief, an agent, officer and manager with

 11       WELLS FARGO. At all times alleged herein BERMUDEZ has and does conduct business in and

 12       purposefully avails himself of the jurisdiction of the County of Los Angeles, State of California.

 13              9.      At all times mentioned herein, Defendant WEATHERVANE PRODUCTIONS, INC.

 14       (hereinafter "WVP") is, upon information and belief, a Nevada Limited Liability Company, which at

 15       all times alleged herein has and does conduct business in and purposefully avails itself of the

 16       jurisdiction of the County of Los Angeles, State of California.

 17              10.     At all times mentioned herein, Defendant JASON VAN EMAN (hereinafter "VAN

 18       EMAN") is, upon information and belief, an individual residing in the State of Oklahoma, and was, at

 19       all times alleged herein, upon information and belief, an agent, officer and manager with WVP. At all

 2O       times alleged herein VAN EMAN has and does conduct business in and purposefully avails himself of

 21       the jurisdiction of the County of Los Angeles, State of California.

 22              11.     At all times mentioned herein, Defendant FOREST CAPITAL PARTNERS, INC.

 2r-3..   (hereinafter "FCP") is, upon information and belief, a Florida Corporation, which at all times alleged
  r"
 4-.l!i   herein has and does conduct business in and purposefully avails itself of the jurisdiction of the County

 ~2i      of Los Angeles, State of California.

                 12.     At all times mentioned herein, Defendant BENJAMIN MCCONLEY (hereinafter

 27       "MCCONLEY") is, upon information and belief, an individual residing in the State of Florida, and

 28       was, at all times alleged herein, upon information and belief, an agent, officer and manager with FCP.

                                                              3
                                                 COMPLAINT FOR DAMAGES


                                                                                REMOVAL EXHIBIT A 005
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 7 of 423of 14
                                                                            Page ID #:16




     1
                                        •                                          •
             At all times alleged herein MCCONLEY has and does conduct business in and purposefully avails

     2       himself of the jurisdiction of the County of Los Angeles, State of California.

     3               13.    The true names and capacities, whether individual, corporate, associate or otherwise, of

     4       defendants DOES 1 through 50, inclusive, are unknown to Plaintiff at this time, who therefore sues

     5       said Defendants by such fictitious names. When the true names and capacities of said Defendants are

     6       ascertained, Plaintiff will seek leave of Court to amend this Complaint to allege their true names and

     7       capacities. Plaintiff is informed and believes and thereon alleges that each Defendant designated

     8       herein as a DOE is responsible in some manner for each other Defendants' acts and omissions and for

     9       the resulting injuries and damages to Plaintiff, as alleged herein.

 10                  14.    Plaintiff is informed and believe, and thereon allege, that at all times mentioned herein,

 11          Defendants and DOES 1through50, inclusive, and each of them, were agents, servants, employees,

 12          successors in interest, and/or joint venturers of their co-Defendants, and were, as such, acting within

 13          the course, scope, and authority of said agency, employment, and/or venture.

 14                                               GENERAL ALLEGATIONS
 15                  15.    Plaintiff is informed and believes, and thereon alleges, that Defendants, including

 16          DOES 1 through 50, inclusive, were agents, servants, employees, successors in interest, and/or joint

 17          venturers of their co-defendants, and were, as such, acting within the course, scope, and authority of

 18          said agency, employment and/or venture, and that each and every defendant, as aforesaid, when acting

 19          as a principal, was negligent in the selection of each and every other defendant as an agent, servant,

 20          employee, successor in interest, and/or joint venturer.

 21                                                 STATEMENT OF FACTS
 22                 16.     On or about March 30, 2015, VAN EMAN acting on behalf of, as an agent of, and with

 23
  r"'
             the authority of Defendants WVP, FCP, MCCONLEY, WFB, WFA, RAFAEL, and BERMUDEZ,

    :t
 2 f'-,..)   approached Plaintiff 818M and made material misrepresentations which induced Plaintiff to enter into

    ,
 2 5-
   ......)
             a co-financing agreement for a film, Inside Game (hereinafter "Film").

                    17.     During the March 30, 2015 conversation, numerous misrepresentations were made to

27           818M members Michael Pierce and Paul Martino about the credibility ofWVP and FCP, and the assets

28           maintained by WVP and FCP with WELLS FARGO.

                                                                  4
                                                    COMPLAINT FOR DAMAGES


                                                                                   REMOVAL EXHIBIT A 006
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 8 of 523of 14
                                                                            Page ID #:17




     1                18.
                                       •                                        •
                            Commencing in March, 2015, WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA,

     2      RAFAEL, and BERMUDEZ all represented to Plaintiff that WVP and FCP were legitimate film

     3      financing companies that maintained credible accounts and significant assets with WELLS FARGO.

     4                19.   Based upon Defendants' misrepresentations, Plaintiff entered into a written financing

     5      agreement with FCP and WVP dated May 14, 2015 (hereinafter "Funding Agreement"). The Funding

     6      Agreement contained a specific representation by WELLS FARGO which stated that FCP's assets held

     7      by Wells Fargo Private Bank are liquid cash backed assets, they are but not limited to certificate of

     8      deposits, capital in savings accounts and money markets, mutual funds, stocks and bonds, accounts

     9      receivable, demand and time deposits. It further provided that as a family office there is not one set of

 1O         assets that are utilized as collateral for the Line of Credit, but a large grouping of several families'

 11         assets that are held and managed by Wells Fargo Private Bank. And that any number of assets can and

 12         will be used to be the collateral for the Lines of Credit. Finally, the Funding Agreement provided that

 13         in all cases Wells Fargo Private Bank treats the assets as cash.

 14                   20.   Pursuant to the Funding Agreement, Plaintiff was instructed to and did deposit

 15         $1,250,000 into the following account: Wells Fargo Bank, 420 Montgomery Street, San Francisco, CA

 16         94104, Account Number 1644585075, Account Name: FORREST CAPITAL & CO. Pursuant to the

 17         Funding Agreement, Defendants FCP and WVP were to provide matching contributions with collateral

 18         over which WELLS FARGO had a security interest.

 19                   21.   After Plaintiff deposited funds into the WELLS FARGO account, WELLS FARGO and

 2O         its representative RAFAEL made affirmative representations to Plaintiff that matching funds by FCP

 21         and WVP were received and in the account.

 22                   22.   On June 2, 2015, RAFAEL sent an e-mail from his WELLS FARGO e-mail address,

 23         Banjamin.Rafael@wellsfargo.com to Plaintiff informing them to use that e-mail to confirm with their

 2 {' team that the US $1.25M has been received, Forrest Capital has matched the contribution and the funds
     ('-,

 2 S::      are in the master account. RAFAEL further represented that they are finishing up the requirements,

 2          and that they are finalizing a "few small things that we the bank need before we can send out the
     0
 27         cards."

 28                   23.   WELLS FARGO and RAFAEL thereafter sent signature cards I Authorization for

                                                                5
                                                   COMPLAINT FOR DAMAGES


                                                                                 REMOVAL EXHIBIT A 007
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 9 of 623of 14
                                                                            Page ID #:18




  1
                                    •                                        •
           Information and Certificate of Authority to Plaintiff which were signed and returned to WELLS

  2        FARGO on June 4, 2015.

  3               24.    Unbeknownst to Plaintiff, WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA,

  4        RAFAEL, and BERMUDEZ knew all along that there was to be no matching contribution of

  5        Plaintiffs capital. Instead, Defendants removed the entire amount of Plaintiffs contribution from the

  6        WELLS FARGO account for their own benefit and refused to return it.

  7               25.    Defendants WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA, RAFAEL, and

  8        BERMUDEZ actively concealed the fraud and alleged matching of funds for many months after

  9        Plaintiffs deposit into the WELLS FARGO account. On September 14, 2015, MCCONLEY and

 10        RAFAEL had a phone conversation with Plaintiffs representative Michael Pierce wherein RAFAEL

 11        and MCCONLEY stated that a total amount of $2.5 million (including the WVP/FCP contribution)

 12        existed and was in the secure San Francisco WELLS FARGO account.              This conversation was

 13        followed up by an e-mail from MCCONLEY and RAFAEL to Plaintiffs representative Michael

 14        Pierce, cc'ing HERNAN BERMUDEZ stating that he is working to close the line and set up for

 15        funding, and that he needed time to finish and reach out to one of his bankers who assist with the

 16        closings. He further stated that "Mr. Heman Bermudez is one of three relationships helping me."

 17               26.    BERMUDEZ responded to the above referenced e-mail stating the parties can touch

 18        base in the morning regarding the schedule. Plaintiffs representative Terry Leonard spoke verbally

 19        with RAFAEL after receipt of this BERMUDEZ e-mail, and was again told by RAFAEL that the funds

 2O        were present and secure in the WELLS FARGO account.                Mr. Leonard then responded to

 21        BERMUDEZ' e-mail stating that he just spoke to RAFAEL who confirmed verbally the amount in the

 22        account and demanded an e-mail showing proof that there is $2,513,320.02 in the account.

23         BERMUDEZ never responded to Plaintiff.

                  27.    Unbeknownst to Plaintiff, WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA,
 i'-,..l

i~·        RAFAEL, and BERMUDEZ knew all along that there was to be no matching contribution of
 tY
 Q)
2!·6·      Plaintiffs capital. Instead, Defendants removed the entire amount of Plaintiffs contribution from the
27         WELLS FARGO account and refused to return it.

28

                                                             6
                                                COMPLAINT FOR DAMAGES


                                                                               REMOVAL EXHIBIT A 008
Case 2:16-cv-09427-PSG-PLA
           Case 3:23-cv-04238-LB
                              Document
                                 Document
                                       1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            PagePage
                                                                 10 of723
                                                                        of 14
                                                                            Page ID #:19




   1
                                     •         FIRST CAUSE OF ACTION
                                                                              •
   2                                     [FRAUD AND INTENTIONAL DECEIT]

   3                   (By Plaintiff against All Defendants and DOES 1through50, inclusive)

   4            28.     Plaintiff re-allege and incorporate s herein by reference each and every allegation and

   5     statement contained in the prior paragraphs.

   6            29.     Commencing in March, 2015, Defendants WVP, VAN EMAN, FCP, MCCONLEY,

   7     WFB, WFA, RAFAEL, and BERMUDEZ, and DOES 1through50, inclusive, and each of them, made

   8     the following misrepresentations of material fact to Plaintiff and Plaintiffs representatives:

   9                    a. Defendants WVP and FCP were legitimate film finance companies that were

 1O                          engaged in the business of co-financing films;

 11                     b. Defendants WVP and FCP were interested in co-financing the Film with Plaintiff;

 12                     c. Defendants WVP and FCP maintained credible accounts with WELLS FARGO;

 13                     d. Defendants WVP and FCP maintained significant assets in their WELLS FARGO

 14                          accounts;

 15                     e. Defendants WVP and FCP had utilized WELLS FARGO accounts to co-finance

 16                          numerous films;

 17                     f.   WELLS FARGO intended to financially back the obligations of WVP and FCP

 18                          under the Funding Agreement;

 19                     g. WELLS FARGO had previously facilitated joint-contributions for film financing

 2O                          agreements involving FCP and WVP;

 21                     h. WELLS FARGO would keep all funds deposited into the joint-account maintained

 22                          in San Francisco secure;

 23                     I.   WELLS FARGO would not allow any withdrawal from the joint-account
  t-"
  t-'·

                             maintained in San Francisco without the written consent of Plaintiff;

                        J.   WELLS FARGO received a matching contribution of funds by WVP and FCP

                             pursuant to the Funding Agreement into its San Francisco account; and

 27                     k. WELLS FARGO maintained a total of $2,513,320.02 in the San Francisco account

 28                          designated to be for the benefit of the Film.

                                                              7
                                                 COMPLAINT FOR DAMAGES


                                                                                REMOVAL EXHIBIT A 009
Case 2:16-cv-09427-PSG-PLA
           Case 3:23-cv-04238-LB
                              Document
                                 Document
                                       1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            PagePage
                                                                 11 of823
                                                                        of 14
                                                                            Page ID #:20




    1              30.
                                       •                                        •
                            Plaintiff is informed and believes, and thereon alleges, that at all times mentioned

    2      herein, Defendants DOES 1 through 50, inclusive, authorized or ratified Defendants WVP, VAN

    3      EMAN, FCP, MCCONLEY, WFB, WFA, RAFAEL, and BERMUDEZ' careless, negligent, reckless,

    4      and malicious conduct by failing to inform, notify, or report to PLAINTIFF or its agents, servants,

    5      employees, successors in interest, and/or joint venturers of the aforelisted misrepresentations of

    6      material fact made by Defendants WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA, RAFAEL,

    7      and BERMUDEZ.

    8              31.      The aforelisted misrepresentations of material fact made by Defendants, and each of

    9      them, were in fact false.

 10                32.      When Defendants made the aforelisted misrepresentations of material fact, they knew

 11        them to be false and made these representations with the intent to deceive and defraud Plaintiff and to

 12        induce Plaintiff to act in reliance thereon in the manner herein alleged, or with the expectation Plaintiff

 13        would so act.

 14                33.      Plaintiff, at the time the aforelisted misrepresentations of material fact were made by

 15        Defendants, and at the time Plaintiff took the actions herein alleged, were ignorant of the falsity of the

 16        aforelisted misrepresentations of material fact made by Defendants and believed them to be true. In

 17        reliance on the aforelisted misrepresentations of material fact, Plaintiff were induced to and did enter

 18        into agreements with Defendants, place money in the designated San Francisco WELLS FARGO bank

 19        account, and provided investment for the Film. Had Plaintiff known the actual facts, Plaintiff would

 2O        not have taken such actions, nor made any investments.

 21                34.      Plaintiffs reliance on the aforelisted misrepresentations of material fact made by

 22        Defendants was justified because Plaintiff was ignorant of the falsity of said misrepresentations of

 23        material fact.

 24-               35.      As a direct and proximate cause of the unlawful acts and conduct alleged herein,
   t---'
   t-'
 25
  f'.,J
           Plaintiff has been damaged in an amount to be proven at trial.
   q:;.
 2tQ'              36.      The outrageous conduct of Defendants WVP, VAN EMAN, FCP, MCCONLEY, WFB,
   c:;n

 27        WFA, RAFAEL, and BERMUDEZ, and DOES 1through50, inclusive, and each of them, as described

 28        herein, was done with malice, fraud, and/or oppression and with a willful and conscious disregard for

                                                               8
                                                  COMPLAINT FOR DAMAGES


                                                                                  REMOVAL EXHIBIT A 010
Case 2:16-cv-09427-PSG-PLA
           Case 3:23-cv-04238-LB
                              Document
                                 Document
                                       1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            PagePage
                                                                 12 of923
                                                                        of 14
                                                                            Page ID #:21




   1
                                     •                                          •
          Plaintiffs rights and with' the intent, design, and purpose of injuring Plaintiff. By reason thereof,

   2      Plaintiff is entitled to punitive and/or exemplary damages in an amount to be proven at trial.

   3

   4                                          SECOND CAUSE OF ACTION
   5                                      [NEGLIGENT MISREPRESENTATION]

   6                    (By Plaintiff Against All Defendants and DOES 1 through 50, inclusive)

   7             37.     Plaintiff re-alleges and incorporates herein by reference each and every allegation and

   8      statement contained in the prior paragraphs.

   9             38.      Commencing in March, 2015, Defendants WVP, VAN EMAN, FCP, MCCONLEY,

 1 O WFB, WF A, RAFAEL, and BERMUDEZ, and DOES 1 through 50, inclusive, and each of them, made

 11       the following misrepresentations of material fact to Plaintiff and Plaintiff's representatives:

 12                      a. Defendants WVP and FCP were legitimate film finance companies that were

 13                           engaged in the business of co-financing of films;

 14                      b. Defendants WVP and FCP were interested in co-financing the Film with Plaintiff;

 15                      c. Defendants WVP and FCP maintained credible accounts with WELLS FARGO;

 16                      d. Defendants WVP and FCP maintained significant assets in their WELLS FARGO

 17                           accounts;

 18                      e. Defendants WVP and FCP had utilized WELLS FARGO accounts to co-finance

 19                           numerous films;

 20                      f.   WELLS FARGO intended to financially back the obligations of WVP and FCP

 21                           under the Funding Agreement;

 22                      g. WELLS FARGO had previously facilitated joint-contributions for film financing

 23                           agreements involving FCP and WVP;
   r'
   t--'
 2 4~                    h. WELLS FARGO would keep all funds deposited into the joint-account maintained
   1-.•
 23-                          in San Francisco secure;
  r"-
 2~"':                   i.   WELLS FARGO would not allow any withdrawal from the joint-account
 27                           maintained in San Francisco without the written consent of Plaintiff;

 28                      J.   WELLS FARGO received a matching contribution of funds by WVP and FCP

                                                               9
                                                 COMPLAINT FOR DAMAGES


                                                                                  REMOVAL EXHIBIT A 011
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 13 of1023of 14
                                                                             Page ID #:22




    1
                                      •                                         •
                              pursuanfto the Funding Agreement into its San Francisco account; and

    2                     k. WELLS FARGO maintained a total of $2,513,320.02 in the San Francisco account

    3                         designated to be for the benefit of the Film.

    4             39.     Plaintiff is informed and believes, and thereon alleges, that at all times mentioned

    5      herein, Defendants DOES 1 through 50, inclusive, authorized or ratified Defendants WVP, VAN

    6      EMAN, FCP, MCCONLEY, WFB, WFA, RAFAEL, and BERMUDEZ'S careless, negligent, reckless,

    7      and malicious conduct by failing to inform, notify, or report to Plaintiff or its agents, servants,

    8      employees, successors in interest, and/or joint venturers of the aforelisted misrepresentations of

    9      material fact made by Defendants WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA, RAFAEL,
 1O        and BERMUDEZ.

 11               40.     When Defendants WVP, VAN EMAN, FCP, MCCONLEY, WFB, WF A, RAFAEL,

 12        and BERMUDEZ made the aforelisted misrepresentations of material fact, they had no reasonable
 13        ground for believing them to be true. Defendants WVP, VAN EMAN, FCP, MCCONLEY, WFB,

 14        WF A, RAFAEL, and BERMUDEZ were aware that the aforelisted misrepresentations of material fact
 15        were false at the time they were made.

 16               41.     Defendants WVP, VAN EMAN, FCP, MCCONLEY, WFB, WF A, RAFAEL, and
 17        BERMUDEZ, made the aforelisted misrepresentations of material fact with the intention of inducing

 18        Plaintiff to act in reliance on said misrepresentations in the manner alleged, or with the expectation that
 19        Plaintiff would so act.

 20               42.     As a direct and proximate cause of the unlawful acts and conduct alleged herein,
 21        Plaintiff has been damaged in an amount to be proven at trial.

 22

 23                                            THIRD CAUSE OF ACTION

                                           [UNFAIR BUSINESS ACTS UNDER
   ~~·

 25.                          CALIFORNIA BUSINESS & PROFESSIONS CODE§ 17200]
   f'-,)
   en
 21fi>..                 (By Plaintiff Against All Defendants and DOES 1 through 50, inclusive)

 27               43.     Plaintiff re-alleges and incorporates herein by reference each and every allegation and
 28        statement contained in the prior paragraphs.

                                                               10
                                                  COMPLAINT FOR DAMAGES


                                                                                  REMOVAL EXHIBIT A 012
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 14 of1123of 14
                                                                             Page ID #:23




   1            44.
                                    •                                         •
                        At all times'alleged herein, WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA,

   2     RAFAEL, and BERMUDEZ, and DOES 1 through 50, inclusive, have engaged in unfair business acts

   3     as defined in California Business & Professions Code § 17200. Such unfair business acts and practices

   4     include, but are not limited to, making false and misleading statements in order to induce Plaintiff to

   5     enter into Funding Agreement and deposit funds into the designated San Francisco WELLS FARGO

   6     account and failing to comply with California Business & Professions Code§ 17500, et seq., which

   7     prohibits misleading statements.

   8            45.     Defendants WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA, RAFAEL, and

   9     BERMUDEZ, and DOES 1 through 50, inclusive, uniform conduct in making false and misleading
 1O      statements to Plaintiff constitutes unfair, fraudulent, and deceptive business practices, within the

 11      meaning of California Business & Professions Code § 17200, et seq.

 12

 13                                         FOURTH CAUSE OF ACTION
 14                                           [BREACH OF CONTRACT]

 15               (By Plaintiff Against Defendants WVP, FCP and DOES 1through50, inclusive)

 16             46.     Plaintiff re-alleges and incorporates herein by reference each and every allegation and
 17      statement contained in the prior paragraphs.

 18             47.     Plaintiff entered into a written financing agreement with FCP and WVP dated May 14,

 19      2015 (hereinafter "Funding Agreement). Plaintiff performed all duties and conditions of Funding
 20      Agreement.

 21             48.     Defendants breached the Funding Agreement by, amongst other things:
 22                     a. Misrepresenting their assets held in WELLS FARGO accounts;
 23                     b. Falsely representing that they would match Plaintiffs funds contribution;
    t-
 2 4··                  c. Failing to contribute any funding to the San Francisco WELLS FARGO account;
                            and

                        d. Withdrawing Plaintiffs $1,250,000 contribution into the WELLS FARGO account
    0
 27                         for Defendants' benefit.

 28             49.     As a direct and proximate cause of the unlawful acts and conduct alleged herein,

                                                             11
                                                COMPLAINT FOR DAMAGES


                                                                                REMOVAL EXHIBIT A 013
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 15 of1223of 14
                                                                             Page ID #:24




   1
                                        •
            Plaintiff has been damaged' in an amount to be proven at trial.
                                                                               •
   2                                            FIFTH CAUSE OF ACTION

   3                                                   [CONVERSION]
   4             (By Plaintiff Against Defendants WVP, FCP VAN EMAN, MCCONLEY and DOES 1 through
   5                                                       50, inclusive)

   6                 50.    Plaintiff re-alleges and incorporates herein by reference each and every allegation and

   7        statement contained in the prior paragraphs.

   8                 51.    Plaintiff entered into a written financing agreement with FCP and WVP dated May 14,

   9        2015 (hereinafter "Funding Agreement). Pursuant to the Funding Agreement, Plaintiff was instructed

 10         to and did deposit $1,250,000 into the FORREST CAPITAL & CO. Wells Fargo bank account,

 11         account number 1644585075, at Wells Fargo Bank, 420 Montgomery Street, San Francisco, CA

 12         94104. Defendants FCP and WVP were to provide matching contributions with collateral over which

 13         WELLS FARGO had a security interest.

 14                  52.    Unbeknownst to Plaintiff, WVP, VAN EMAN, FCP, MCCONLEY, WFB, WFA,

 15         RAFAEL, and BERMUDEZ knew all along that there was to be no matching contribution of

 16         Plaintiffs capital.

 17                  53.    Defendants wrongfully took possession of Plaintiffs contribution when they removed

 18         the entire amount of Plaintiffs contribution from the WELLS FARGO account for their own benefit

 19         and refused to return it.

 20                  54.    As a result of Defendants' wrongful possession of Plaintiffs property, Plaintiff has

 21         been damaged in an amount to be proved at trial.

 22         II

 23         II
  I-"
 24         II
  ...,...
 2·5        II
  f'-,.)
  (;;)
 2t6"
  c;ri
            II

 27         II

 28         II

                                                                12
                                                  COMPLAINT FOR DAMAGES


                                                                                 REMOVAL EXHIBIT A 014
Case 2:16-cv-09427-PSG-PLA
          Case 3:23-cv-04238-LB
                             Document
                                Document
                                      1-1 1-5
                                           FiledFiled
                                                 12/21/16
                                                      08/18/23
                                                            Page
                                                               Page
                                                                 16 of1323of 14
                                                                             Page ID #:25




   1
                                     •                                         •
                                                  PRAYER FOR RELIEF
   2
                   WHEREFORE, Plaintiff 818 MEDIA PRODUCTIONS, LLC prays for judgment against all
   3
            Defendants as follows:
   4
                   A.     General damages in an amount according to proof;
   5
                   B.     Special damages in an amount according to proof;
   6
                   C.     Punitive and/or exemplary damages in an amount according to proof;
   7
                   D.     Attorneys' fees as applicable;
   8
                   E.     Costs of suit herein; and
   9
                   F.     For such other and further relief as the Court deems proper.
 10

 11

 12
            DATED: November 10, 2016
 13

 14

 15

 16                                                                Attorney for Plaintiff,
                                                                   818 Media Productions, LLC
 17

 18

 19

 20

 21

 22

 23


   f'.."'
 2$'.'
   i-.;
 2p:
 27

 28

                                                              13
                                                 COMPLAINT FOR DAMAGES


                                                                                REMOVAL EXHIBIT A 015
        Case 2:16-cv-09427-PSG-PLA
                  Case 3:23-cv-04238-LB
                                     Document
                                        Document
                                              1-1 1-5
                                                   FiledFiled
                                                         12/21/16
                                                              08/18/23
                                                                    Page
                                                                       Page
                                                                         17 of1423of 14
                                                                                     Page ID #:26


.   '




           1
                                             •       DEMAND FOR JURY TRIAL
                                                                                   •
           2                Plaintiff 818 MEDIA PRODUCTIONS, LLC hereby demands trial by jury as to all causes of

           3      action.

           4

           5

           6      DATED: November 10, 2016                       KRAMER HOLCO B SHEIK LLP
           7

           8                                                     By:
                                                                        s
           9
                                                                        Attorney for Plaintiff,
         10
                                                                        818 Media Productions, LLC
         11

         12

         13

         14

         15

         16

         17

         18

         19

         20

         21

         22

         23
           r-
           ~

         24-..
           r--.
           t--
         25-.



         27

         28

                                                                   14
                                                       COMPLAINT FOR DAMAGES


                                                                                     REMOVAL EXHIBIT A 016
